 1   GARY W. DYER
 2
     Assistant United States Trustee
     United States Dept. of Justice
 3   Office of the United States Trustee
     United States Courthouse
 4   W. 920 Riverside Ave. Room 593
 5   Spokane, Washington 99201
     Telephone (509) 353-2999
 6   Fax (509) 353-3124
 7

 8
                            UNITED STATES BANKRUPTCY COURT
 9                          EASTERN DISTRICT OF WASHINGTON

10

11   In re:                                        }
                                                   }   Case No: 21-00141-WLH11
12
     EASTERDAY RANCHES, INC.                       }            AMENDED
13
                                                   }   APPOINTMENT OF COMMITTEE
                                                   }   OF UNSECURED CREDITORS IN
14                                  Debtor(s)      }   THE EASTERDAY FARMS, INC. CASE
                                                            {Jointly Administered}
15
              The United States Trustee hereby appoints the following creditors in the Easterday Farms
16
     case to the committee of unsecured creditors.
17

18            Labor Plus Solutions, Inc.                    The McGregor Company
              Juan Ochoa                                    P.O. Box 740
19            1603 W. A Street                              401 Colfax Airport Rd
20
              Pasco, WA 99301                               Colfax, WA 99111
              (509) 551-2223                                Bill Knox
21            becky@jpochoa.com                             (509)397-4355
                                                            billknox@mcgregor.com
22

23
              John Deer Financial                           Dykman Electrical, Inc.
              c/o Hillis Clark Martin & Peterson            Attn: Jarred McKenzie
24            999 Third Ave., Suite 4600                    2323 Federal Way
              Seattle, WA 98104                             Boise, ID 83705
25
              (515) 267-3683                                (208) 336-3988
26            RossWilliam@JohnDeere.com                     jmckenzie@dykman.com

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 1       Two Rivers Terminal, LLC                     Frank Bushman
 2
         P.O. Box 475                                 723 E. Karcher Road
         Rupert, ID 83350                             Nampa, ID 83687
 3       (208) 531-4100                               (208) 465-3703
         mikem@lvf.com                                frankb@ivi.us.com
 4

 5

 6       D A T E D this ____ day of February, 2021.

 7
                                                 Respectfully submitted,
 8

 9                                               GREGORY M. GARVIN
                                                 Acting United States Trustee for Region 18
10

11
                                                 /s/ Gary W. Dyer
12                                               GARY W. DYER
                                                 Assistant United States Trustee
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